Case 2:90-cv-00520-KJM-SCR Document1876 Filed 07/07/06 Page1of4

Linda E. Buffardi, Esq.

420 Angell Street
Providence, Rhode Island 02906
(401) 351-9877
Fax (401) 272-6315
lindybu@yahoo.com

Bar Admissions

State of Rhode Island, 1983
United States District Court of Rhode Island, 1984

Law Practice

Linda E. Buffardi, Attorney at Law
Providence, Rhode Island
1992 — Present. Specialist in all aspects of legal research and
writing in civil litigation, including preparation of appellate briefs,
trial court memoranda, and private legal opinions

Higgins, Cavanagh & Cooney, LLP
Providence, Rhode Island
1986 — 1992. Associate in civil litigation department of firm;
responsible for all legal research and writing, appellate practice,
and supervision of law clerk staff

Rumford Property and Casualty Insurance Company
Providence, Rhode Island
1985 — 1986. Assistant in-house legal counsel; responsible for
negotiation/trial of first-party and third-party liability claims

Rhode Island Department of the Attorney General
Providence, Rhode Island
1984 — 1985. Special assistant attorney general in civil division;
representation of state boards and departments in consumer
complaints and related occupational licensing disputes

Iannucillo & Hines
Providence, Rhode Island
1983-1984. Associate in civil litigation firm; responsible for pre-trial
motion practice, legal research and writing support for trial counsel
Case 2:90-cv-00520-KJM-SCR Document1876 Filed 07/07/06 Page 2of4

Clerkship

Salter, McGowan, Arcaro & Swartz
Providence, Rhode Island
1981. Law clerk in tax litigation firm

Pre-Law Employment

Community College of Rhode Island
Warwick, Rhode Island
1976 — 1979. Coordinator of recruitment and support services for
disabled students; responsible for compliance with federal
regulations on public education of disabled persons, raising
awareness/sensitivity to special needs of disabled population in
college, assembling of data, and preparation of program funding
proposals; instructor of introductory sign language

Rhode Island School for the Deaf
Providence, Rhode Island
1974 — 1976. Assistant to director of community outreach program
to promote hiring and occupational advancement of hearing-
impaired persons, and conduct public awareness programs in
schools, business, industry, and media; sign language interpreter
for program director and clients in educational and employment
interview settings

Education

The American University, Washington College of Law
Washington, D.C.
J.D. 1982
Semifinalist, Moot Court Competition

Brown University
Providence, Rhode Island
A.B. Psychology 1974

Editorships

Rhode Island Trial Lawyers Association Newsletter
Editor-in-Chief, 2001 - 2002

Rhode Island Bar Journal
Editor-in-Chief, 1995 — 1998: Editorial Board, 1994
Case 2:90-cv-00520-KJM-SCR Document1876 Filed 07/07/06 Page 3of4

Publications

“Advocating and Legislating the Right to be Safe from Lead Poisoning: My
Conversation with Attorney Vincent Greene About the New Lead Hazard
Mitigation Act,”
Rhode Island Trial Lawyers Association Newsletter, September,
2002

“Another Medical Malpractice ‘Crisis’ or a Chance for Change?’
Rhode Island Trial Lawyers Association Newsletter, May, 2002

“Identifying the Defendants: The Rhode Island Supreme Court Revisits

Apparent Authority, Alter Ego, and the Ever Immutable Duty of Care,”
Rhode Island Trial Lawyers Association Newsletter, December,
2001

“Testamentary Capacity in Rhode Island: What is Sanity?"
Rhode Island Bar Journal, volume XLIII, No. 8, May, 1995

"Capitalizing on the Use of Manufacturers’ Compliance with Regulations in
the Defense of a Crashworthiness Case"
Monograph of the Defense Research Institute on Product Liability,
No. 5, 1992

Professional Boards and Memberships

Bar Examiner, State of Rhode Island
2003 — present

Rhode Island Superior Court Committee To Revise R.I. Rules of

Civil Procedure
2006 — present

Rhode Island Bar Association Bench-Bar Subcommittee to Revise
R.I. Rules of Civil Procedure
2003 — 2005

American Inns of Court — Roger Williams University Law School
Chapter

President, 2001 — 2002

Officer, 1998 — 2001

Rhode Island Bar Association Executive Committee
1995 — 1998
Case 2:90-cv-00520-KJM-SCR Document1876 Filed 07/07/06 Page 4of4

Rhode Island Supreme Court Committee on the Unauthorized
Practice of Law
1995 — 2002

Justinian Law Society Board of Directors
Officer, Board Member
1995 — 2004

Committee on the Centennial of the Rhode Island Bar Association
1993 - 1998
